Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 1 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 2 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 3 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 4 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 5 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 6 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 7 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 8 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document    Page 9 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document   Page 10 of 11
Case 6:17-bk-14845-MW   Doc 1 Filed 06/09/17 Entered 06/09/17 12:51:04   Desc
                        Main Document   Page 11 of 11
